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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                     )         No. 4:21CR 00 ~~~       Sf/\
                                             )
V.                                           )
                                             )    21   U.S.C. §§ 841(a)(l), (b)(l)(A), (B), (C), (D)
                                             )    21   U.S .C. § 846
                                             )    18   U.S .C. §§ 922(g)(l) & (3), 922G)
                                             )    18   U.S.C. § 924(c)(l)(A)(i)
DERRICK L. HART                              )
TETUS TREMAYNE JENKINS                       )
BIANCA LAVONDA                               )
ANDRE DEMOND GRAVES                          )
PRINCE LANCE STRONG                          )
STEVEN FORREST TAYLOR                        )
DAYTON LEE WIGGINS , JR.                     )
DANIEL LAMONT WHITE                          )
JONATHAN DALE DUNIGAN                        )
JUSTIN CORTEZ CROSS                          )

                                         INDICTMENT

THE GRAND JURY CHARGES THAT:

                                           COUNT 1

       From in or about December 2020, and continuing to on or about November 2, 2021, in

the Eastern District of Arkansas and elsewhere, the defendants,

                                     DERRICK L. HART,
                                TETUS TREMAYNE JENKINS,
                                    BIANCA LA VONDA,
                                 ANDRE DEMOND GRAVES,
                                  PRINCE LANCE STRONG,
                                 STEVEN FORREST TAYLOR,
                                 DAYTON LEE WIGGINS, JR.,
                                DANIEL LAMONT WHITE, and
                                JONATHAN DALE DUNIGAN,

voluntarily and intentionally conspired with each other and other persons known and unknown to

the grand jury, to knowingly and intentionally possess with intent to distribute and to distribute


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Schedule I and II controlled substances, in violation of Title 21, United States Code, Section

841(a)(l).

   1. With respect to defendants DERRICK L. HART, TETUS TREMAYNE JENKINS,

       BIANCA LAVONDA, PRINCE LANCE STRONG, STEVEN FORREST TAYLOR,

       DAYTON LEE WIGGINS, JR., and JONATHAN DALE DUNIGAN, the amount of

       methamphetamine involved in the conspiracy attributable him or her as a result of his or

       her own conduct, and the conduct of other co-conspirators reasonably foreseeable to him

       or her, is at least 500 grams of a mixture and substance containing a detectable amount of

       methamphetamine, and at least 50 grams of methamphetamine actual, in violation of Title

       21, United States Code, Section 841 (b)(1 )(A).

   2. With respect to defendant DERRICK L. HART and BIANCA LA VONDA, the amount of

       cocaine involved in the conspiracy attributable her as a result of her own conduct, and the

       conduct of other co-conspirators reasonably foreseeable to her, is less than 500 grams of a

       mixture and substance containing a detectable amount of cocaine hydrochloride, and less

       than 28 grams of cocaine base, in violation of Title 21, United States Code, Section

       841 (b)(1 )(C).

   3. With respect to defendants DERRICK L. HART, TETUS TREMAYNE JENKINS,

       ANDRE DEMOND GRAVES, DAYTON LEE WIGGINS, JR., and DANIEL LAMONT

       WHITE, the amount of marijuana involved in the conspiracy attributable him as a result of

       his own conduct, and the conduct of other co-conspirators reasonably foreseeable to him,

       is less than 50 kilograms of marijuana, in violation of Title 21, United States Code, Section

       841 (b )(1 )(D).

               All in violation of Title 21, United States Code, Section 846.



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1. Before the defendant committed the offense charged in this count, the defendant,

   PRINCE LANCE STRONG, had a final conviction for a serious drug felony for which

   he served more than 12 months of imprisonment and for which he was released from

   serving any term of imprisonment related to that offense within 15 years of the

   commencement of the instant offense, that is: Possession with Purpose to Deliver

   Meth/Cocaine, Pulaski County, Arkansas Circuit Court, case number 2013-3865.

2. Before the defendant committed the offense charged in this count, the defendant,

   PRINCE LANCE STRONG, had the following final convictions for a serious violent

   felony for which he served more than 12 months of imprisonment and for which he

   was released from serving any term of imprisonment related to that offense within 15

   years of the commencement of the instant offense:

      a. Battery 3rd and Aggravated Battery, Clayton County, Georgia Superior Court,

           case number 2011CR00471-08; and

      b.   Residential Burglary, Pulaski County, Arkansas Circuit Court, case number

           2014-838.

3. Before the defendant committed the offense charged in this count, the defendant,

   DAYTON LEE WIGGINS, JR., had the following final conviction for a serious violent

   felony for which he served more than 12 months of imprisonment and for which he

   was released from serving any term of imprisonment related to that offense within 15

   years of the commencement of the instant offense, that is: Battery 2nd Degree, Pulaski

   County, Arkansas Circuit Court, case number 2002-3101A.




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                                            COUNT2

        On or about December 8, 2020, in the Eastern District of Arkansas, the defendant,

                                       DERRICK L. HART,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

                                            COUNT3

       On or about December 17, 2020, in the Eastern District of Arkansas, the defendant,

                                       DERRICK L. HART,

knowingly and intentionally possessed with intent to distribute and distributed 50 grams or more

of methamphetamine actual, a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 84l(a)(l) and 84l(b)(l)(A).

                                           COUNT4

       On or about January 11, 2021 , in the Eastern District of Arkansas, the defendant,

                                       DERRICK L. HART,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 84l(a)(l) and 84l(b)(l)(B).

                                           COUNTS

       On or about January 21, 2021, in the Eastern District of Arkansas, the defendant,

                                       BIANCA LAVONDA,



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knowingly and intentionally possessed with intent to distribute and distributed a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT6

        On or about January 21, 2021, in the Eastern District of Arkansas, the defendant,

                                       BIANCA LAVONDA,

knowingly and intentionally possessed with intent to distribute and distributed a mixture and

substance containing a detectable amount of cocaine base, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT7

       On or about February 4, 2021, in the Eastern District of Arkansas, the defendant,

                                       BIANCA LAVONDA,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

                                           COUNTS

       On or about February 4, 2021, in the Eastern District of Arkansas, the defendant,

                                       BIANCA LA VONDA,

knowingly and intentionally possessed with intent to distribute and distributed a mixture and

substance containing a detectable amount of cocaine hydrochloride, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 84l(a)(l) and 841(b)(l)(C).




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                                              COUNT9

        On or about February 9, 2021, in the Eastern District of Arkansas, the defendant,

                                          DERRICK L. HART,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

                                              COUNT 10

        On or about February 9, 2021, in the Eastern District of Arkansas, the defendant,

                                          DERRICK L. HART,

knowingly and intentionally possessed a firearm in furtherance of a drug trafficking crime

prosecutable in a court of the United States, that is: a violation of Title 21, United States Code,

Section 841 (a)(l) as set forth in Count 9 of this Indictment, in violation of Title 18, United States

Code, Section 924(c)(1 )(A)(i).

                                             COUNT 11

        On or about March 18, 2021, in the Eastern District of Arkansas, the defendant,

                                          BIANCA LA VONDA,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841 (a)(l) and 841 (b)(1 )(B).

                                             COUNT 12

       On or about March 22, 2021, in the Eastern District of Arkansas, the defendant,



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                                 STEVEN FORREST TAYLOR,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount of fentanyl, a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT 13

       On or about March 22, 2021, in the Eastern District of Arkansas, the defendant,

                                 STEVEN FORREST TAYLOR,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT 14

       On or about April 14, 2021, in the Eastern District of Arkansas, the defendant,

                                       JUSTIN CORTEZ CROSS,

then being an unlawful user of a controlled substance as defined in Title 21, United States Code,

Section 802, did knowingly possess one or more of the following firearms in and affecting

commerce:

        1. a Tegra AR-15 rifle, serial number 003803; and

        2. a Springfield Arms 9mm handgun, serial number BAl 16861,

in violation of Title 18, United States Code, Section 922(g)(3).

                                            COUNT 15

       On or about April 26, 2021, in the Eastern District of Arkansas, the defendant,

                                      DERRICK L. HART,




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knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

                                           COUNT 16

       On or about April 27, 2021, in the Eastern District of Arkansas, the defendant,

                                       DERRICK L. HART,

knowingly and intentionally possessed with intent to distribute 500 grams or more of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                           COUNT 17

       On or about April 27, 2021, in the Eastern District of Arkansas, the defendant,

                                          DERRICK L. HART,

knowingly possessed a stolen firearm, that is: an Anderson Manufacturing AM-15 Multi Cal.

Rifle, serial number 18045919, which had been shipped and transported in interstate commerce,

knowing and having reasonable cause to believe the firearm was stolen, in violation of Title 18,

United States Code, Section 922U).

                                           COUNT 18

       On or about April 27, 2021, in the Eastern District of Arkansas, the defendant,

                                TETUS TREMAYNE JENKINS,

knowingly and intentionally possessed with intent to distribute marijuana, a Schedule I controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(D).




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                                           COUNT 19

       On or about April 27, 2021, in the Eastern District of Arkansas, the defendant,

                                TETUS TREMAYNE JENKINS,

knowingly and intentionally possessed with intent to distribute 50 grams or more of

methamphetamine actual, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(l) and 841(b)(l)(A).

                                           COUNT20

       1. On or about June 2, 2021, in the Eastern District of Arkansas, the defendant,

                                 DAYTON LEE WIGGINS, JR.,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

       2.      Before the defendant committed the offense charged in this count, the defendant,

DAYTON LEE WIGGINS, JR., had the following final conviction for a serious violent felony for

which he served more than 12 months of imprisonment and for which he was released from serving

any term of imprisonment related to that offense within 15 years of the commencement of the

instant offense, that is: Battery 2nd Degree, Pulaski County, Arkansas Circuit Court, case number

2002-3 lOlA.

                                           COUNT21

       1. On or about June 16, 2021, in the Eastern District of Arkansas, the defendant,

                                DAYTON LEE WIGGINS, JR.,




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knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

       2.      Before the defendant committed the offense charged in this count, the defendant,

DAYTON LEE WIGGINS, JR., had the following final conviction for a serious violent felony for

which he served more than 12 months of imprisonment and for which he was released from serving

any term of imprisonment related to that offense within 15 years of the commencement of the

instant offense, that is: Battery 2nd Degree, Pulaski County, Arkansas Circuit Court, case number

2002-3 lOlA.

                                           COUNT22

       On or about June 25, 2021, in the Eastern District of Arkansas, the defendant,

                                DAYTON LEE WIGGINS, JR.,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21 , United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                           COUNT23

       On or about June 25, 2021, in the Eastern District of Arkansas, the defendant,

                                DAYTON LEE WIGGINS, JR.,

knowingly and intentionally possessed one or more of the following firearms: a Hi-Point Model

C9, 9mm handgun, serial number Pl635104; a Remington 700, 30-60 bolt action rifle, serial

number RR43095J; and a Ruger .22 caliber revolver, model 14S, serial number Z102518, in

furtherance of a drug trafficking crime prosecutable in a court of the United States, that is: a



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violation of Title 21, United States Code, Section 841(a)(l) as set forth in Count 22 of this

Indictment, in violation of Title 18, United States Code, Section 924(c)(1 )(A)(i).

                                              COUNT24

        A.      On or about June 25, 2021, the defendant,

                                   DAYTON LEE WIGGINS, JR.,

had previously and knowingly been convicted of the following crime punishable by a term of

imprisonment exceeding one year: Battery 2nd Degree, Pulaski County, Arkansas Circuit Court,

case number 2002-3101 A.

        B.      On or about June 25, 2021, in the Eastern District of Arkansas, the

defendant,

                                   DAYTON LEE WIGGINS, JR.,

knowingly possessed, in and affecting commerce, one or more of the following firearms:

        1. a Hi-Point Model C9, 9mm handgun, serial number Pl635104;

        2. a Remington 700, 30-60 bolt action rifle, serial number RR43095J; and

        3. a Ruger .22 caliber revolver, model 14S, serial number Z 102518,

in violation of Title 18, United States Code, Section 922(g)(l ).



                                 FORFEITURE ALLEGATION 1

        Upon conviction of one or more crimes charged in Counts 1 through 9, 11 through 13, and

15 through 22 of this Indictment, the defendants, shall forfeit to the United States, under Title 21,

United States Code, Section 853(a)(l), all property constituting, or derived from, any proceeds the

person obtained, directly or indirectly, as a result of the offense.




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                               FORFEITURE ALLEGATION 2

       Upon conviction of one or more crimes charged in Counts 1 through 9, 11 through 13, and

15 through 22 of this Indictment, the defendants, shall forfeit to the United States, under Title 21,

United States Code, Section 853(a)(2), all of the person's property used or intended to be used, in

any manner or part, to commit, or to facilitate the commission of the offense.




                               FORFEITURE ALLEGATION 3

       Upon conviction of one or more crimes charged in Counts 1 through 24 of this Indictment,

the defendants, shall forfeit to the United States, under Title 18, United States Code, Section

924(d), Title 21, United States Code, Section 853, and Title 28, United States Code, Section

2461 (c), all firearms and ammunition involved in the commission of the offense.




                    [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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